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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

RYAN SHEA,                           )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )            Case No. 7:16-cv-01155-TMP
                                     )
KOHL’S DEPARTMENT                    )
STORES, INC.,                        )
                                     )
             Defendant.              )


                          MEMORANDUM OPINION

      This cause is before the court on the motion for summary judgment filed

March 30, 2018, by the defendant, Kohl’s Department Stores, Inc. (“Kohl’s” or

“Defendant”). (Doc. 124). Defendant seeks dismissal of all of Ryan Shea’s

(“Plaintiff” or “Shea”) claims arising from the Defendant’s alleged retaliation in

violation of the Sarbanes-Oxley Act and defamation under Alabama state law. The

motion has been fully briefed. A hearing on the motion was held on October 2,

2018. The parties consented to dispositive jurisdiction by a magistrate judge on

September 28, 2016. (Doc. 22).

                    SUMMARY JUDGMENT STANDARD

      Under Federal Rule of Civil Procedure 56(a), summary judgment is proper

“if the movant shows that there is no genuine dispute as to any material fact and
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the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

party asking for summary judgment “always bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those

portions of ‘the pleadings, depositions, answers to interrogatories, and admissions

on file, together with the affidavits, if any’ which it believes demonstrate the

absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 47 U.S. 317,

323 (1986) (quoting former Fed. R. Civ. P. 56(c)). The movant can meet this

burden by presenting evidence showing there is no dispute of material fact or by

showing that the nonmoving party has failed to present evidence in support of

some element of its case on which it bears the ultimate burden of proof. Celotex,

477 U.S. at 322-23. There is no requirement, however, “that the moving party

support its motion with affidavits or other similar materials negating the

opponent’s claim.” Id. at 323.

      Once the moving party has met its burden, Rule 56 “requires the nonmoving

party to go beyond the pleadings and by her own affidavits, or by the ‘depositions,

answers to interrogatories, and admissions on file,’ designate ‘specific facts

showing that there is a genuine issue for trial.’” Id. at 324 (quoting former Fed. R.

Civ. P. 56(e)).   The nonmoving party need not present evidence in a form

necessary for admission at trial; however, he may not merely rest on his pleadings.

Celotex, 477 U.S. at 324. “[T]he plain language of Rule 56(c) mandates the entry


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of summary judgment, after adequate time for discovery and upon motion, against

a party who fails to make a showing sufficient to establish the existence of an

element essential to that party’s case, and on which that party will bear the burden

of proof at trial.” Id. at 322.

       After the plaintiff has properly responded to a proper motion for summary

judgment, the court “shall” grant the motion if there is no genuine issue of material

fact, and the moving party is entitled to judgment as a matter of law. Fed. R. Civ.

P. 56(a). The substantive law will identify which facts are material and which are

irrelevant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute

is genuine “if the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Id. at 248. “[T]he judge’s function is not himself to weigh

the evidence and determine the truth of the matter but to determine whether there is

a genuine issue for trial.” Id. at 246. His guide is the same standard necessary to

direct a verdict:    “whether the evidence presents a sufficient disagreement to

require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law.” Id. at 251-52; see also Bill Johnson’s Restaurants, Inc.

v. N.L.R.B., 461 U.S. 731, 745 n. 11 (1983).

       However, the nonmoving party “must do more than simply show that there

is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The evidence supporting a


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claim must be “substantial,” Marcus v. St. Paul Fire and Marine Ins. Co., 651 F.2d

379 (5th Cir., Unit B, 1981); a mere scintilla of evidence is not enough to create a

genuine issue of fact. Young v. City of Palm Bay, 358 F.3d 859, 860 (11th Cir.

2004); Kesinger ex rel. Estate of Kesinger v. Herrington, 381 F.3d 1243, 1249-50

(11th Cir. 2004). If the non-movant’s evidence is so thoroughly discredited by the

rest of the record evidence that no reasonable jury could accept it, the evidence

fails to establish the existence of a genuine issue of fact requiring a jury

determination. See Scott v. Harris, 550 U.S. 372, 127 S. Ct. 1769, 1776, 167 L.

Ed. 2d 686 (2007) (“Respondent’s version of events is so utterly discredited by the

record that no reasonable jury could have believed him. The Court of Appeals

should not have relied on such visible fiction; it should have reviewed the facts in

the light depicted by the videotape.”); Lewis v. City of West Palm Beach, Fla., 561

F.3d 1288, 1290 n. 3 (11th Cir. 2009). If the evidence is merely colorable, or is not

significantly probative, summary judgment may be granted. Anderson, 477 U.S. at

249 (citations omitted); accord Spence v. Zimmerman, 873 F.2d 256 (11th Cir.

1989). Furthermore, the court must “view the evidence presented through the

prism of the substantive evidentiary burden,” so there must be sufficient evidence

on which the jury could reasonably find for the plaintiff. Anderson, 477 U.S. at

255. The non-movant need not be given the benefit of every inference but only of




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every reasonable inference. Brown v. City of Clewiston, 848 F.2d 1534, 1540 n.

12 (11th Cir. 1988).

                          SUMMARY JUDGMENT FACTS

       Viewing the facts in the light most favorable to the nonmovant, in this case

the plaintiff, the following facts are relevant to the motion for summary judgment.

       The plaintiff, Ryan Shea, began his employment with Kohl’s on April 3,

2006. He worked as the District Manager for District 78, which consisted of a

group of 16 stores in the Alabama and Georgia. Shea worked in that capacity until

his termination on October 16, 2015. During the year 2015, Shea was the second-

highest ranked District Manager for Kohl’s nationwide, and the most highly ranked

District Manager in the region.1 In both his 2014 and 2015 performance reviews,

Plaintiff was ranked as “Highly Effective” or “Satisfactory” in all categories by

Regional Vice President Phil Smith. In April of 2015, Regional Vice President

Roland Johnson (“Johnson”) became Shea’s new supervisor.

       Shea had a history of being blunt and was considered “undiplomatic” in his

relations with peers and subordinates.              In 2010, Shea was counseled to

communicate with his peers “in a more professional manner.” In 2011, he was

advised to be more aware of the impact his actions have on others. And, in his

2013 performance review, Shea’s supervisor, Regional Vice President Phil Smith,

1
  In Kohl’s hierarchy, stores are organized into districts, each overseen by a District Manager,
and districts are organized into regions, managed by a Regional Vice President for each region.
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challenged him to “adapt [his] tone and style appropriately” to be less “direct [and]

opinionated” and more diplomatic.               Even so, Shea received performance

evaluation ratings of either “Satisfactory” or “Highly Effective” in the areas of

“Build Great Teams” and management skills.

       In the eleven months prior to his termination, Shea was disciplined for angry

and intimidating treatment of other Kohl’s employees on two more occasions. In

November 2014, Shea was issued a verbal warning by his Regional Vice President,

Phil Smith, for referring to a Kohl’s co-worker as a “fucking moron” and “a

fucking idiot.” Notwithstanding this verbal warning, Smith rated Shea “Highly

Effective” in the area of “Build Great Teams” for the year 2014. In April 2015,

Shea’s new Regional Vice President, Roland Johnson, received a complaint that

Shea had intimidated and belittled another employee, Tracey Phillips, at a dinner.

After investigation, Johnson issued Shea a written warning on June 19, 2015, for

mistreating Phillips, using abusive and offensive language directed at her, and for

“improperly submitting travel expenses for reimbursement.” 2 Shea was explicitly

warned by Johnson that further instances of misbehavior could result in the

termination of Shea’s employment.




2
    Shea was accused of seeking reimbursement for alcoholic drinks during the dinner with
Phillips. Shea asserted that the inclusion of the alcoholic drinks on the reimbursement request
was an error by his administrative assistant.
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      Kohl’s keeps a record of the number of times customers apply for credit in

each of its stores. One of the performance metrics by which stores are evaluated is

the number of credit applications submitted each day. Daily credit-application

goals are assigned to each store and, collectively, to each district, which are

monitored by district managers in reports delivered three times each day. Whether

the applications are accepted and credit is extended does not affect the evaluation.

Occasionally, Kohl’s will offer a small monetary incentive of around $1.00 per

application to encourage the sales associates to ask each customer about opening a

credit card account. Additionally, store manager bonuses are tied to the store’s

performance on the credit solicitation metrics.

      Executives, including store managers, district managers, and others, are able

to view reports of the number of credit applications submitted by each of the

stores. This allows executives to see the number of credit applications for a

particular day and the outcome of the applications, whether approved, denied,

unable to process, or pending.      It is rare for the final outcome of a credit

application to be “unable to process.” High numbers of credit applications that are

not able to be processed may indicate a problem within the store. In addition to

tracking the number of credit applications submitted at each store, Kohl’s also

keeps a record of the number of credit applications in relation to the dollar amount

of sales at a given store in a given day. On average, Kohl’s stores report one credit


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application for every $2,500 to $3,000 in sales. A low “sales-to-credit application”

ratio can also indicate a problem at the store.

        During his tenure as District Manager, Kohl’s conducted credit card

application fraud investigations at four stores in Shea’s district: Mobile, Alabama;

Opelika, Alabama; Columbus, Georgia; and Albany, Georgia. As a result of an

investigation in Opelika, Alabama, Shea terminated three employees for submitting

fraudulent credit applications without the knowledge or consent of the customers in

whose names the applications were made. This was not a problem exclusive to

Shea’s district; fraudulent credit card applications were a problem at Kohl’s stores

nationwide. Timothy Eger (“Eger”), the Assistant Manager of Credit Operations at

the relevant time, stated that part of his job was to monitor the credit card

applications submitted in the stores to determine if there was questionable activity.

If questionable activity was detected, Eger would send an email to the District Loss

Prevention Manager. From April 17, 2014, to December 1, 2015—a period of

twenty months—70 such emails were sent to District Loss Prevention Managers to

notify them of questionable applications at 48 stores.                But the problem was

growing worse. From February 11, 2016, to October 20, 2016—a period of only

eight months—80 emails were sent regarding suspicious activity at 47 stores.3




3
    Notably, this period was after Shea was terminated on October 15, 2015.
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      Credit applications by customers of Kohl’s were submitted to a bank,

Capital One, which provided the credit if the application was approved.

Applications were transmitted from Kohl’s to Capital One over the internet. In

assessing each application, Capital One obtained a credit report for the applicant,

which resulted in a “hard inquiry” or a “hit” on the customer’s credit-report record.

      In September 2015, Shea began receiving reports from store managers

within District 78 that certain stores were creating fraudulent credit applications to

increase reported numbers. He became aware that the store in Albany, Georgia

(“Albany Store”), particularly, was recording high numbers of credit applications

tagged “unable to process.” This was a store added to Shea’s district in April

2015, as the result of a corporate restructuring. The Albany Store also had a low

sales-to-credit application ratio. At one point, the Albany Store reported one credit

application for every $96.00 in sales, compared to the usual average of one

application for every $2,500 to $3,500 in sales. The numbers concerned Shea, and

he ultimately discovered that sales associates at the Albany Store were submitting

fraudulent credit applications using the social security numbers of customers and

other people without authorization. The intended purpose of the transactions was

to increase the credit applications on Kohl’s corporate measurements, thereby

increasing the perceived performance of the store.




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      Upon making this discovery, Shea sent an email to Paulette Williams

(“Williams”), the manager of the Albany Store on September 18, 2015.            He

notified Williams of his concerns, noting that, in addition to the high number of

credit applications and the low sales-to-credit application ratio, applications for

credit were being submitted in “back-to-back” transactions. Shea asked Williams

to investigate the issue and report back to him. Also on September 18, 2015, Shea

notified Jason Deaton (“Deaton”), the District Loss Prevention Manager, of the

situation at the Albany Store.     Deaton informed Shea that the Kohl’s Fraud

Department was involved in the investigation, and he referred to the situation as

“shady.”   On September 24, 2015, Deaton also received an email from Eger

notifying him of the questionable activity in the Albany store.

      Williams was “disturbed” by the email from Shea about the credit card

applications and she forwarded it to her former district manager, Brent Emmett, on

September 19, 2018. Emmett forwarded the email on that same date to Roland

Johnson, the Regional Vice President over Shea’s district. Johnson was thus aware

that Shea was questioning the legitimacy of credit applications in the Albany store

by no later than September 19. On September 28, 2015, Williams submitted a

“statement of concern” to Johnson detailing her allegations against Shea, including

the assertion that he made racial statements to her about the demographics of the




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Albany store. 4 Williams’ “statement of concern” also complained that Shea was

questioning her store’s efforts to solicit credit applications. On September 29,

2015, Johnson communicated with Human Resources about issues with Shea

including “credit integrity challenges” being raised by Shea, apparently with

respect to the Albany store. On October 13, 2015 Roland Johnson met with Shea

about Williams’ allegations and informed Shea that there was an investigation into

the matter. Shea reminded Johnson at that time of the ongoing fraud investigation

of the Albany Store. Shea opined that Williams’ complaint about him was an

attempt to retaliate against him for a store visit he conducted five months earlier

and because of the fraud investigation. Johnson instructed Shea to prepare a

written memorandum about the fraud allegations, which he did that day. Shea’s

employment with Kohl’s was terminated on October 16, 2015, by Roland Johnson,

with input from Jolene Christensen and Tim McLarty.

       At the conclusion of the fraud investigation by Kohl’s and Deaton, it was

determined that fraud was, in fact, occurring in the Albany Store. While most


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   Viewing this evidence favorably to the plaintiff, Shea asserts that, during a visit to the Albany
store in April 2015, five months before he questioned credit applications at the store, he noticed
that the Keurig coffeemakers in the store were not simple black and white, but were colorful. He
asked Williams whether that was an “African-American thing.” Shea testified that he was
inquiring whether colorful coffeemakers were a “localization” effort by the store, which had a
high number of African-American customers. Kohl’s admits that it had a “Localization” Policy,
under which the inventory of stores is tailored to meet the demographics of each store’s
particular customer population. While Kohl’s admits that it has a Localization effort aimed at
Hispanic customers, it has never had such an effort focused on African-American customers,
even though Shea’s former Regional Vice President, Phil Smith, considered the idea.
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fraudulent credit applications were rejected by Capital One, at least one such

fraudulent application resulted in the issuance of credit on which a Kohl’s

customer reported being dunned for about $300.00 in debt and fees. In every

instance, however, the fraudulent credit applications resulted in a “hard inquiry” or

“hit” on the credit report of each customer, potentially impacting the customer’s

credit score. The two employees involved in the scheme were “counseled” about

the wrongness of their actions, but both were allowed to remain employed with the

company at that time. One was later terminated when she continued to submit

fraudulent credit applications.

      More than a year later, on October 31, 2016, JC Penney flew Shea to Dallas,

Texas for a series of interviews for a position with the company. He interviewed

with a former Kohl’s employee, Melissa Liegl.             After the interview, at

approximately 10:00 a.m. on October 31, 2016, Liegl contacted Courtney Kolar

and Kristin Moran for their opinions on Shea. Liegl knew Kolar and Moran

because they had all worked together at Kohl’s. Kolar had left Kohl’s some time

before October 31 and was working at JC Penney at the time of the text message

from Liegl. Moran had submitted a two-week notice to Kohl’s that morning at

8:34 a.m., informing Kohl’s that she was leaving to take a job with JC Penney.

Because she had taken a job with JC Penney, however, she was escorted out of the

building that day before 9:00 a.m. Liegl cannot remember whether it was Moran


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or Kolar or both who provided her with opinions about Shea. Liegl summarized

the report(s) she received in an email to Brett Romero and Cecil James, two other

JC Penney interviewers, at 11:54 a.m., October 31, 2016, in which she said Shea

was not “HR friendly” and had “integrity issues.”         After this first day of

interviews, JC Penney contacted Shea to inform him that he was no longer a

candidate and that his remaining interviews had been cancelled.

                                 DISCUSSION

      Kohl’s has moved for summary judgment on all of the Plaintiff’s remaining

claims under the whistleblower protections of Sarbanes-Oxley (“SOX”) and

Alabama state law of defamation. In its motion for summary judgment Kohl’s sets

forth the following arguments:


      Shea did not engage in activity protected under Sarbanes-Oxley, the
      relevant decision makers did not know of his purported protected
      activity, and his internal “complaint” was not a contributing factor in
      his termination. Moreover Kohl’s would have fired Shea in light of
      his sustained bullying of peers and subordinates. Finally, Shea cannot
      point to any employee who communicated with JC Penny [sic] about
      the termination of his employment, nor can he show that any such
      statement was false when made.


(Doc. 124, p. 1). The court understands Kohl’s to be raising the following bases

for summary judgment:




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        1. Whether Shea’s actions regarding his suspicion of credit-application

fraud at the Albany store constituted “protected activity” under the SOX

whistleblower provision;

        2. Whether the supervisors at Kohl’s who decided to terminate Shea’s

employment knew of his alleged protective activity under SOX at the time they

made the decision;

        3. Whether Shea’s actions related to the suspicion of credit-application

fraud at the Albany store was a contributing factor in the decision to terminate his

employment;

        4. Whether Kohl’s can establish with clear and convincing evidence that it

would have taken the same action against Shea notwithstanding any protected

activity under SOX;

        5. Whether any statement about Shea made to JC Penney was made by a

Kohl’s employee with authority to speak on behalf of Kohl’s; and

        6. Were the statements made to JC Penney about Shea false.

   I.      The Sarbanes-Oxley Act

        Section 806 of the Sarbanes-Oxley Act (“SOX”) makes it unlawful for a

publicly traded company to “discharge, demote, suspend, threaten, harass, or in

any other manner discriminate against any employee” because the employee

engaged in whistleblowing or other activity protected by the Act. 18 U.S.C.


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§ 1514A(a)(1).   Activity protected by the Act includes “provid[ing] information,

caus[ing] information to be provided, or otherwise assist[ing] in an investigation

regarding conduct which the employee reasonably believes constitutes a violation

[of criminal statutes involving mail, wire, bank, or securities fraud; a rule or

regulation of the SEC (Securities and Exchange Commission); or a provision of

law prohibiting fraud against shareholders] …when the information or assistance is

provided to or the investigation is conducted by… a person with supervisory

authority over the employee (or such other person working for the employer who

has the authority to investigate, discover, or terminate misconduct)….”          Id;

Johnson v. Stein Mart, Inc., 440 F. App’x 795, 800-1 (11th Cir. 2011) (citing Day

v. Staples, Inc., 555 F.3d 42, 54-5 (1st Cir. 2009). To make out a prima facie case

for retaliation under SOX, therefore, a plaintiff must show by a preponderance of

the evidence that “(i) the employee engaged in a protected activity or conduct;

(ii) the [employer] knew or suspected, actually or constructively, that the employee

engaged in the protected activity; (iii) the employee suffered an unfavorable

personnel action; and (iv) the circumstances were sufficient to raise the inference

that the protected activity was a contributing factor in the unfavorable action.”

Johnson v. Stein Mart, Inc., 440 F. App’x 795, 800-1 (11th Cir. 2011) (citing

29 C.F.R. § 1980.104(b)(1); Gale v. U.S. Dept. of Labor, 384 F. App’x 926, 929

(11th Cir. 2010)).     Once a plaintiff has made a prima facie showing of


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whistleblower retaliation under SOX, the burden shifts to the employer.           Id.

Unlike other burden-shifting frameworks, the burden on the employer under SOX

is a true burden of proof, not mere articulation of a non-retaliatory reason for the

personnel action taken. Id. (quoting Welch v. Chao, 536 F.3d 269, 275 (4th Cir.

2008); citing 18 U.S.C. §1514A(b)). The employer must rebut the plaintiff’s

prima facie case “‘by demonstrating by clear and convincing evidence that the

employer would have taken the same personnel action in the absence of the

protected activity.’” Id. (quoting Welch v. Chao, 536 F.3d 269, 275 (4th Cir.

2008); citing 18 U.S.C. §1514A(b)) (emphasis added).

   A. Prima Facie Case

      There is no dispute that Kohl’s is a publicly traded company, and therefore,

subject to the provisions of SOX, including the anti-retaliation provision of Section

806. (See Doc. 124-2, p.1; Doc. 43, p.1). Where the dispute arises is whether

Shea has made out a prima facie case of whistleblower retaliation under SOX. Of

the prima facie elements, the parties have not disputed that termination of

employment is type of adverse employment action that can trigger the protections

of Section 806.    The issue before the court is whether (1) Shea engaged in

protected activity, (2) the decision makers were aware of the protected activity

when they made the decision to fire Shea, and (3) the circumstances raise the

inference that the protected activity was a contributing factor in the decision to


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terminate Shea’s employment. Construing all facts in favor of the nonmovant, as

the court must at this juncture of the case, the court finds that Shea has made a

prima facie case of retaliation under SOX.

      1. Protected Activity

      First, a reasonable jury could find that Shea engaged in activity that is

protected under Section 806 of the Sarbanes-Oxley Act. SOX prohibits retaliation

against an employee who provides information, causes such information to be

provided , or assists in an investigation into conduct that the employee reasonably

believes is prohibited by the Act, and where the information or assistance is

provided to a supervisor or other employee with authority to investigate. 18 U.S.C.

§ 1514A(a)(1). The Eleventh Circuit has held “reasonably believes” means that

the plaintiff “actually believed the conduct complained of constituted a violation of

pertinent law” (i.e. had a subjective belief) and that the plaintiff’s belief was

objectively reasonable on the facts and circumstances of the case. Gale v. Dept. of

Labor, 384 F. App’x 926, 929-30 (11th Cir. 2010) (citing Welch v. Chao, 536 F.3d

269, 275 (4th Cir.2008), cert. denied, 556 U.S. 1181, 129 S. Ct. 1985, 173 L. Ed.

2d 1084 (2009).

      Kohl’s does not dispute that submitting fraudulent credit card applications,

as possible wire fraud or bank fraud, is a type of conduct that can trigger the

whistleblower protections of the Act. 18 U.S.C. § 1514A (a)(1). Rather, the


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dispute in the briefs stems from whether Shea had a reasonable belief that he was

reporting illegal conduct.   Additionally, during the motion hearing, defendant

argued that Shea had not engaged in protected activity because he did not notify

his supervisor pursuant to Kohl’s policy.

      To the extent that the defendant argues that Shea did not provide information

to the appropriate person in order to be protected under Section 806, the court finds

that he did. Shea provided his information calling attention to the suspicious

activity at the Albany store to Jason Deaton, the District Loss Prevention Manager,

on September 18, 2015. Timothy Eger, who was serving as Assistant Manager of

Credit Operations at the relevant time, testified during his deposition that his team

monitored credit applications for suspicious activity and sent an email to the

District Loss Prevention Manager when suspicious activity was noticed. The

District Loss Prevention Manager had the authority to investigate the misconduct.

Therefore, while the court admittedly does not know all of the inner reporting

channels within the Kohl’s organization, there is substantial evidence in the record

that reporting his suspicions to the District Loss Prevention Manager was an

appropriate course of action for Shea.

      Also, the court finds that there is a genuine issue of material fact regarding

whether Shea had a “reasonable belief” that illegal activity was occurring.

Defendant argues that the plaintiff did not make his complaint in good faith and


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did not have a subjective belief that illegal conduct was occurring as evidenced by

the timing of his complaint, the deviation from his prior investigations, and the

“vague and ambivalent” language he used when reporting the suspicious activity.

(Doc. 124-2, p. 21). In Gale, however, the Eleventh Circuit assessed the validity of

the plaintiff’s belief in a fact-intensive analysis. In that case, the court was able to

rely on statements from the plaintiff that he didn’t believe that illegal or fraudulent

activities were occurring when he reported it and that he felt “uncomfortable” and

“uneasy” about what was occurring. The instant case does not present such clear

cut evidence that the whistleblower did not believe the fraudulent credit

applications were illegal. Shea testified that he did believe it was fraud, and this

was based on his prior experience with credit application frauds. Not surprisingly,

when Deaton was notified of Shea’s suspicions, he described the activity at the

Albany store as “shady,” an acknowledgment that he too believed something

illegal was afoot. As the court has previously opined, a whistleblower need not

have the legal sophistication of a criminal prosecutor to believe in good faith that

he is reporting something illegal. He is not required to be able to cite the chapter

and section of the criminal code implicated by his suspicions. 5 Whether, in fact,


5
   It is true that SOX limits its whistleblower protections to reports of certain types of crimes,
such as wire fraud, bank fraud, and securities fraud. This limits the objective scope of the
application of SOX, but it does not define the level sophistication a whistleblower must possess
to make a good faith report of illegal activity. The whistleblower is not required to cite to 18
U.S.C. § 1343 in order to show his good faith. Rather, he acts in good faith if he believes what
he is reporting is illegal regardless of whether he can identify the particular code section at issue.
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Shea believed the conduct to be illegal is a question for the jury, and there is

substantial evidence in the record on which a reasonable jury could find that he did

believe the activity he was reporting was illegal.

       As to the objective reasonableness of the plaintiff’s belief, Kohl’s apparently

does not dispute that the conduct Shea was suspicious of, in fact, was wire or bank

fraud. Because, in fact, the credit application fraud was illegal, Shea’s belief was

objectively reasonable.       When he reported the conduct to Williams, the store

manager, and Deaton, the District Loss Prevention Manager, Shea not only

believed the activity to be illegal, it was in fact illegal. Therefore, the court finds

for the purposes of summary judgment that there is a genuine issue of material fact

surrounding whether the plaintiff had a “reasonable belief” and thus, whether he

engaged in activity protected under the Act. Therefore, the court declines to grant

summary judgment on this ground.

       2. Knowledge of the Decisionmakers

       Second, there is substantial evidence on which a reasonable jury could find

that Roland Johnson was aware of the plaintiff’s protected activity when he

concluded that Shea should be fired. If Johnson, Christensen, or McClarty were

unaware of the reporting, then the defendant would be entitled to summary


If the reported illegality actually falls outside the limited scope of laws on which whistleblower
protection is provided by SOX, the protection does not exist. If the illegality falls within the
scope of laws covered by SOX, protection exits regardless of whether the whistleblower knew it
or not.
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judgment on the plaintiff’s SOX claim. See Johnson, 440 F. App’x at 800-1.

However, there is evidence in the record that demonstrates that Johnson was aware

of Shea’s investigation into the credit application scheme in the Albany store well

before October 13, 2015. On September 18, 2015, Shea sent an email to Paulette

Williams inquiring about credit card applications in the Albany store. Williams

forwarded this email to Brett Emmett, who forwarded it to Roland Johnson on

September 19, 2015. Therefore, Johnson knew of Shea’s investigation into the

matter on September 19, 2015.       Even if the court were to accept Johnson’s

assertion that he made the decision to fire Shea on October 7, 2015, Johnson still

was aware of Shea’s internal reporting at the time that he made the decision to

terminate Shea’s employment. Therefore, because there is evidence on which a

reasonable jury could find that the relevant decision makers were aware of Shea’s

protected conduct when they made the decision to fire him, summary judgment is

not proper on this ground.

      3. Contributing Factor

      Third, a reasonable jury could find that Shea’s complaint was a contributing

factor in the decision to terminate his employment. To establish a prima facie case

of retaliation under SOX, the plaintiff must show that his reporting of violations

was a contributing factor in the employer’s decision to terminate him.         See

Johnson, 440 F. App’x at 800-1. A “contributing factor” is “any factor, which


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alone or in combination with other factors, tends to affect in any way the outcome

of the decision.” Feldman v. Law Enf’t Assocs. Corp., 752 F.3d 339, 348 (4th Cir.

2014); Lockheed Martin Corp. v. Admin. Review Bd., U.S. Dept. of Labor, 717

F.3d 1121, 1136 (10th Cir. 2013). This creates a standard which is broad and

forgiving. Feldman, 752 F.3d at 348. Close temporal proximity between an

employee’s protected activity and an adverse employment decision can be

circumstantial evidence of a retaliatory motive.      Feldman, 752 F.3d at 348;

Brungart v. BellSouth Telecom., Inc., 231 F.3d 791, 799 (11th Cir. 2000); Tice v.

Bristol-Myers Squibb Co., 2006 WL 3246825, at *20 (U.S. Dept. of Labor 2006).

      In this case, Shea first reported his concerns about the credit card

applications at the Albany store on September 18, 2015. The next day, Williams

complained to her former district manager that Shea was raising questions about

efforts in her store to solicit credit applications. That complaint was forwarded to

Johnson, who knew by September 19 that Shea was raising questions about the

legality of credit applications in the store. Also, Williams later met with Johnson

and complained again about Shea’s credit integrity questions. When Johnson first

communicated with Courtney Kolar in HR about Shea on September 29, 2015, one

of the concerns he reported was Shea’s “consistent credit integrity challenges.”

(Doc. 124-13, p. 124). This is circumstantial evidence, but substantial evidence,

on which a reasonable jury could find that Shea’s complaint about fraudulent credit


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applications at the Albany store was a contributing factor in Johnson’s treatment of

him. One of the very bases for discipline cited by Johnson to HR was Shea’s

protected activity—his “consistent credit integrity challenges.”

      Moreover, the temporal proximity between Shea’s protected activity and his

termination is circumstantial evidence that his complaint was a contributing factor

in his termination. Shea was terminated by Kohl’s on October 15, 2015, less than

a month after he emailed Paulette Williams and Jason Deaton about his suspicious

of credit application fraud.    The abbreviated timeline on which these events

occurred is circumstantial evidence of retaliation.

      The court finds sufficient circumstantial evidence to create a genuine issue

of material fact such that summary judgment is precluded. Because there are

genuine issues of material fact as to whether plaintiff engaged in protected conduct

and whether his reporting was a contributing factor to his termination, the court

finds that, for the purposes of summary judgment, the plaintiff has made out a

prima facie case of retaliation under SOX.

   B. Employer’s Rebuttal

      Because the plaintiff has made out a prima facie case for the purposes of

summary judgment, the burden shifts to the employer to show by clear and

convincing evidence that it would have terminated Shea regardless of his protected

activity. See Johnson, 440 F. App’x at 801. If the employer can carry that burden,


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then summary disposition is appropriate. See id. The defendant argues here that it

would have fired Shea anyway because of his interpersonal and integrity issues,

and the court should analyze this case under the framework of Johnson.

(Doc. 124-2, 26-8).    Shea, on the other hand, contends that the defendant’s

proffered explanation for his termination is pretext for retaliation. (Doc. 130, p.

26).

       The defendant asserted at the motion hearing and in briefs that Johnson v.

Stein Mart Inc. presents the same issues and should be extremely persuasive to the

court. Because the court disagrees that the instant case and Johnson are on all

fours, a discussion of the facts of Johnson is warranted. Plaintiff in that case was

an employee of a publicly traded retail company. Johnson, 440 F. App’x at 797.

In 2002, after she was promoted to buyer in the women’s department, she began

making internal complaints about business practices that she viewed as

inappropriate. Id. In 2003, she was moved to the position of planner, and while

she viewed this as a demotion, she retained the same compensation package in

both positions. Id. As part of her duties the plaintiff was responsible for making

the purchases for the fragrance department which entailed no more than entering

the data as she was directed by her superiors. Id. at 798. She did not have the

discretion to change the order. However, in the fall of 2004, plaintiff decided to

deviate from the directions of supervisors and order different fragrances without


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authorization. Id. Stein Mart alleged that this resulted in a discrepancy of about

$384,000 and necessitated a supplemental order of fragrances. Id. As a result,

plaintiff received performance counseling in December of 2004. Id. In February

2005, plaintiff received a negative evaluation, a “Final Warning,” and was placed

on a performance improvement plan.        Id.   Plaintiff’s supervisor notified the

plaintiff multiple times that her performance was not improving sufficiently to

retain her job. Id. In March 2005, plaintiff met with the defendant’s Chief

Financial Officer and informed him that she believed she was the victim of

retaliation. Id. The allegation was investigated and determined to be baseless. Id.

On May 19, 2005, plaintiff was terminated. Id. She brought suit against her

employer alleging retaliation in violation of SOX. Id. at 799. The District Court

granted summary judgment in favor of the defendant, and after a remand because

of another issue, the court reinstated the grant of summary judgment. Id. On the

second appeal, the Eleventh Circuit affirmed on the grounds that, even if plaintiff

had made a prima facie showing, summary judgment still was appropriate because

the defendant had demonstrated by clear and convincing evidence it would have

terminated her employment absent any reporting. Id. at 804.

      In Johnson and in this case, both employers argued that they would have

made the decision to terminate the employees even without the employee

reporting. See id. at 799; (Doc. 124-2, p. 26-7). However, the case before the


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court differs in important ways from Johnson, and a comparison of the two

highlights outstanding issues of material fact and is illustrative that summary

judgment is improper.      First, the plaintiff in Johnson was given negative

performance evaluations, Johnson, 440 F. App’x at 798, whereas Shea’s

performance was always rated “satisfactory” or above. Second, the timelines in

the cases are completely different. The plaintiff in Johnson made her internal

reports in 2002 and was not terminated until May of 2005. Johnson, 440 F. App’x

797-8. Shea made his reports in September of 2015 and was terminated less than

one month later. Additionally, after the plaintiff in Johnson alleged that she was

the victim of retaliation, her claims were investigated, and she was terminated two

months later. Johnson, 440 F. App’x at 798. Shea alleged retaliation, there was no

investigation, and he was terminated two days later.

      Prior to his termination, Shea was a highly ranked and decorated employee.

In 2015, he was the second most highly ranked Kohl’s District Manager in the

nation. (Doc. 130, p. 3). Additionally, in his performance review in April 2015,

Shea received “satisfactory” or “highly effective” ratings in every category of

evaluation. Id. He also was given a glowing personal review from Phil Smith,

Shea’s supervisor at the time. Id. Kohl’s points to prior reviews from 2011 to

2014 where they claim Shea was “admonished,” urged to improve, and warned, as

evidence that Shea had long-term issues and failed to improve. (Doc. 131, p. 2).


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However, looking at the plaintiff’s 2015 evaluation, he was deemed to have

improved. The positive 2015 personnel evaluation cuts against Kohl’s assertion

that they would have terminated Shea absent his protected activity.          When

compared with Johnson, a case where summary judgment was appropriate, the

differences are clear. In Johnson, the plaintiff’s most recent personnel evaluation

had been negative, she had recently committed an ordering blunder valued at

$384,000, and she was placed on a performance improvement plan and given 90

days to improve or be terminated. See Johnson, 440 F. App’x 797-8. Certainly,

the plaintiff in Johnson was not ranked as one of the retailer’s top employees or

given a positive review immediately before her termination.

      Additionally, the timelines in the cases demonstrate the appropriateness of

summary judgment in Johnson but not in this case. The time from Shea’s initial

questioning of Williams on September 18, 2015, and Johnson’s learning of Shea’s

reporting on September 19, 2015, until Shea’s termination on October 15, 2015,

was less than one month. Additionally, Johnson sent an email to Courtney Kolar in

HR on September 29, 2015, effectively starting the discipline process less than two

weeks after Shea reported the issues in the Albany Store, and in that email Johnson

references the protected activity as an issue with Shea.

      By contrast, the plaintiff in Johnson reported her concerns in 2002. She

received a performance counseling in December 2004, was given a “Final


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Warning” in February 2005, and was terminated in May 2005. As the Eleventh

Circuit noted in Johnson, no reasonable jury could believe that they decided to go

through the 90-day performance improvement plan to further delay terminating her

if they were motivated by a desire to retaliate. On the contrary, in the instant case,

a jury could believe that Shea’s internal reporting set in course a plot of retaliation

that led to his termination less than one month later.

         In sum, the court finds that, for the purposes of summary judgment, the

plaintiff has made out a prima facie case of retaliation under Section 806 of the

Sarbanes-Oxley Act. Additionally, the defendant has not shown by clear and

convincing evidence for purposes of summary judgment that it would have

terminated the plaintiff’s employment even if he had not engaged in protected

activity. A reasonable jury may or may not believe Kohl’s contention is true. As

such, genuine issues of material fact remain and summary judgment is improper on

Plaintiff’s Sarbanes-Oxley Act claim. The defendant’s motion is due to be denied.

   II.     Defamation

         Defendant also has asserted that the plaintiff’s claim for state-law

defamation should be dismissed because he cannot show that a Kohl’s employee

communicated with JC Penney or, in the alternative, he cannot show that the

statements were false. (Doc. 124-2, p. 26).




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      To state a prima facie case of defamation under Alabama state law, the

plaintiff must show (1) that the defendant was at least negligent (2) when he or she

published (3) a false and defamatory statement (4) about the plaintiff (5) who

suffered special damages (unless the statement imputes a crime of infamy or moral

turpitude). Delta Health Group, Inc. v. Stafford, 887 So. 2d 887, 895 (Ala. 2004).

Evidence that shows that the statement was communicated to another is sufficient

to establish the publication element of the claim.          See K-Mart Corp. v.

Pendergrass, 494 So. 2d 600, 602 (Ala. 1986). A corporation can be liable for

defamation based upon the statements made by its agents that damage a third-

party. Hoover v. Tuttle, 611 So. 2d 290, 294 (Ala. 1992). However, congruent

with the basic principles of agency law, the agent must be acting within the scope

of his or her employment at the time the statement is made. Id.

      The court finds that there are no remaining issues of material fact with

regard to the plaintiff’s defamation claim, and therefore, that the defendant’s

summary judgment motion is due to be granted on this count. The court does not

reach the argument of the truthfulness of the statements because it finds that

neither Moran nor Kolar was acting as an agent of Kohl’s at the time she

communicated with Liegl. Kolar resigned from Kohl’s several months before the

text messages about Shea. The plaintiff argues that the defendant has failed to

establish that Moran was no longer being paid by Kohl’s. However, the issue is


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not whether Moran was still on Kohl’s payroll. The issue is whether Moran was

acting as an agent of Kohl’s. Given that Moran was escorted out of the building

prior to making any statement to Liegl, and further assuming it was even Moran

that made the negative statements about Shea, it is clear that Moran was no longer

acting within the scope of her employment. Therefore, the court finds that

defendant’s summary judgment motion is due to be granted as to the plaintiff’s

defamation claim.

                                    CONCLUSION

      The court finds that the defendant’s motion for summary judgment is due to

be granted in part and denied in part. The court finds that there are genuine issues

of material fact as to Plaintiff’s claim under the Sarbanes-Oxley Act, and the

motion for summary judgment is due to be denied. Additionally, the court finds

that the defendant’s motion for summary judgment on Plaintiff’s defamation claim

is due to be granted because no reasonable jury could find in favor of the plaintiff.

A separate order will be entered.

      DONE this 2nd day of April, 2019.




                                       _______________________________
                                       T. MICHAEL PUTNAM
                                       UNITED STATES MAGISTRATE JUDGE



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